Case 9:18-cr-80100-RLR Document 1 Entered on FLSD Docket 05/21/2018 Page 1 of 7




                            U NITED STA TES DISTRICT CO U RT
                            SOU TH ER N D ISTR ICT O F FLO R ID A

                   CASE NO . 18-80100-Cr-Rosenberg/Reinhart
                                      18U.S.C.j19561)
                                      18U.S.C.j982(a)(1)
  UN ITED STA TES O F A M ERICA

                                                                       FILED BY         TM
                                                                                           Q*Fxtpl&m:

  LANN Y TOD D FRIED ,                                                  M ay 21, 2018
                                                                        S'I'EVEN M ,LARIMORE
                                                                        ELERK U.S.DISTRIW U .
         D efendant.                                                   S,D,OF FlA W estPalm Beach
                                     /

                                         INFO RM ATIO N

         The United StatesA ttorney chargesthat:

         From atleastas early as January 2016,through in oraround August2017,in Palm Beach

  County,in the Southem D istrictofFlodda,and elsewhere,the defendant,

                                     LA NN Y TO D D FR IED ,

  didwillfully,thatis,withtheintenttofurthertheobjectoftheconspiracy,andknowinglycombine,
  conspire,confederate,and agree w ith personsknown and llnknow n to the United StatesA ttorney,

  to know ingly conductand attemptto conductfinancialtransactionsaffecting interstate and foreir

  com m erce wllich involved the proceeds ofspecified unlawfulactivity,know ing thatthe property

  involved in the fm ancialkansactions represented the proceedsofsom e form ofunlaw fulactivity,

  with theintentto promotethe carrying on ofspecified unlawfulactivity,in violation ofTitle 18,

  UnitedStatesCode,Section l956(a)(1)(A)(i).
         Itisfurtheralleged thatthe specified unlaw fulactivity w ashealth care fraud and conspiracy

  to com m ithealth care fraud,in violation ofTitle 18,U nited States Code,Sections 1347 and 1349.

         A1lin violation ofTitle 18,United StatesCode,Section 1956(h).
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                                         FO R FEITUR E

               The allegations contained in this lnform ation are realleged and incop orated by

 reference asthough fully setforth herein forthe purpose ofalleging forfeiture to the United States

 ofAm erica ofcertain property in w hich the defendant,LAN N Y TO D D FR IED ,has an interest.

               Upon conviction of a violation of Title l8,U nited States Code,Section 1956,as

 alleged in Count 1 ofthis lnfonnation,the defendant,LA NN Y TO D D FR IED ,shallforfeitto the

 United States any property,realorpersonal,involved in such offense,orany property traceable to

 suchproperty,pursuanttoTitle18,United StatesCode,Section982(a)(1).
               lfthepropertydescribed aboveasbeingsubjectto forfeiture,asaresultofanyact
 orom ission ofLAN N Y TO D D FR IE D,

                   cannotbe located upon the exercise ofdue diligence;

               b. hasbeen transferred orsold to or deposited w ith a third party'
                                                                                ,

                   hasbeenplacedbeyondthejurisdiction oftheCourt;
               d. hasbeen substantially dim inished in value;or

                   has been com m ingled w ith other property w hich cannotbe subdivided w ithout

                   difficulty;

 itistheintentoftheUnited States,pursuanttoTitle21,United StatesCode,Section 8531),as
 madeapplicablethroughTitle18,United StatesCode,Section982(b)(1),to seekforfeitureofany
 otherproperty ofLA N N Y TO D D FR IE D,up to the value ofthe above forfeitable property.
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        AllpursuanttoTitlel8,UnitedStatesCode,Sedion982(a)(7),andtheproceduressetforth
 atTitle 21,U nited States Code,Section 853,as m ade applicable through Title 18,United States

 Code,Section982(b)(1).


                     (
 B JA M W G .G REEN BERG
 UN ITED STA TES A TTO RN EY

                             e


 A.M ARIE VILLAFAR
 A SSISTA N T UN ITED STA TES A TTO RN EY
                            UN ITED STATES
   Case 9:18-cr-80100-RLR Document  1 DI   DISTRICT
                                       Entered      C OU RT
                            SO UTH ERN  STRICTon
                                               O FFLSD
                                                  FLOR IDocket
                                                         DA    05/21/2018 Page 4 of 7


UN ITED STATES OF A M ERICA                       CA SE NO .
5rS.
                                                  CER TIFIC ATE O F TR IAL A TTO RN EY *
LA NNY TO DD FR IED,
                       Defendant.
                                         /        Superseding C ase Inform ation:

CourtDivision:(selectOne)                         New Defendantts)                  YES              NO
                                                  NumberofNew D efendants
        M iami             Key W est              Totalnumberofcounts
        FTL                W PB     X    FTP
        ldohereby certifythat:

                 Ihavecarefully consideredtheallegationsoftheindictm ent,thenumberofdefendants,thenumberofprobable
                 w itnessesandthelegalcom plexitiesofthelndictment/lnform ation attached hereto.
                 lam awarethattheinformationsuppliedonthisstatementwillberelieduponbytheJudgesoftlzisCourtinsetting
                 theircalendarsand schedulingcrim inaltrialsunderthem andateoftheSpeedyTrialA ct,Title28U .S.C.Section
                 3161.

                 Interpreter:     (YesorNo)        No
                 Listlanguageand/ordialect
                 Thiscasewilltake        5        daysforthepartiestotly.
                 Pleasecheckappropriatecategoly andtypeofoffenselisted below :
                 (Checkonlyone)                                                     (Checkonlyone)
       I         0 to 5days                         X                       Petty
       11        6 to 10 days                                               M inor
       lll       11to 20days                                                M isdem .
       IV        21to 60days                                                Felony
       V         61daysand over
       6.        HasthiscasebeenpreviouslyfiledinthisDistrictCourt?(YesorNo) No
       lfyes:
       Judge:                                       CaseN o.
       (Attachcopyofdispositiveorder)
       HasacomplaintbeenGledinthismatter?(YesorNo) No
       lfyes: M agistrateCaseN o.
       RelatedM iscellaneousnum bers:
       Defendantts)infederalcustodyasof
       Defendantts)instatecustodyasof
       Rule20from the
       D istrictof
        lsthisapotentialdeathpenaltycase?(YesorNo)          Yes             X No

                 D oestlliscase originate from a matterpending intheNorthern Region oftheU .S.Attorney'sOfficepriorto
                 O ctober14,2003?                 Yes         X No

                 D oesthiscase originate from a m atterpending in the CentralRegion ofthe U .S.Attorney'sOffice priorto
                 September 1,2007?                Yes        X No



                                                                                                >

                                                          A qM arie 1la ana
                                                          A SSISTANT UNITED STATES ATTORN EY
                                                          FloridaBarN o.0018255

*penaltySheetts)attached
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                          U N ITED STA TES DISTR IC T C O UR T
                          SO U TH ER N DISTR IC T O F FLO R ID A

                                    PEN AL TY SH EET

 Defendant's N am e: LA N NY TO DD FR IED

 C ase N o:


 Count#:1

   18 U.S.C.ô 1956(141

  M onev Laundeling Conspiracv

 * M ax-penalty:20 Years'lmprisonm ent;3 years'Supervised Release;$250,000 Fine ortwice
       the am ount of the crim inally derived property involved in the transaction'
                                                                                  , crim inal
        forfeiture;$100 specialassessment.




 WRefers only to possible term ofincarceration,doesnotinclude possible fines,restitution,special
 assessm ents,parole term s,or forfeitures thatm ay be applicable.
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                              SO UTH ER N D ISTR IC T O F FLO R IDA

                          CASE N UM BER :

                                  BON D REC O M M END ATIO N



DEFEN DAN T:LANNY TO DD FRIED

             PersonalSuretyBond Of$100,000with Co-signer
             (PersonalSurety)(CorporateSurety)(Cash)(Pre--
                                                         frialDetention)




                                             By:
                                                    A USA :    arie V illafan




LastKnown A ddress:




W hatFacility:




Agenttsl:
                   (FB1) (SECRET SERVICE) (DEA) (lRS) (lCE) (OTHER)
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AO 455(Rev.01/09)WaiverofanIndictment

                                 U NITED STATES D ISTRICT C OURT
                                                     forthe
                                           Southern DistrictofFlorida

               United StatesofAm erica                 )
                           3J.                         )     CaseNo.
                                                       )
                LANNY YODD FRIED,                      )
                     nefendant                         )

                                         W AIVER OF AN INDICTM ENT

      1understand that1have been accused ofoneormoreoffensespunishableby imprisonm entformore than one
year.1wasadvised in open courtofmy rightsandthenatureoftheproposed chargesagainstm e.

       Afterreceiving thisadvice,lwaivemy rightto prosecutionby indictm entandconsenttoprosectltion by
information.




                                                                               Saam Zangeneh
                                                                        Printednazpt?çtfJt
                                                                                         r/-
                                                                                           cl?tq
                                                                                               /tzp/f'
                                                                                                     sattorne),




                                                             BRUCE REINHART,U.S.MAGISTI
                                                                                      RATE JUDGE
                                                                           Jlldge'
                                                                                 .
                                                                                 &printed nameandtitle
